                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS


IN RE: LOCAL TV ADVERTISING                           Master Docket No. 18-06785
ANTITRUST LITIGATION
                                                      MDL No. 2867
This document applies to all actions.
                                                      The Honorable Judge Virginia M. Kendall



                        STIPULATION AND SCHEDULING ORDER

        Plaintiffs and Defendants in the above-captioned action, acting through their undersigned

counsel, hereby stipulate as follows:

        WHEREAS, Plaintiffs filed their Discovery Motion No. 3: Motion to Compel Nexstar to

Produce ShareBuilders’ Documents (“Discovery Motion No. 3”) (ECF No. 674) on August 4,

2022.

        WHEREAS, Plaintiffs filed their Discovery Motion No. 4: Motion to Compel Scripps,

Nexstar, Tribune, and Sinclair to Respond to Interrogatory No. 2 (“Discovery Motion No. 4”)

(ECF No 677) on August 5, 2022.

        WHEREAS, Plaintiffs filed their Discovery Motion No. 5: Motion to Compel Nexstar,

Scripps, Raycom, and Tegna to Produce Antitrust/Business Compliance Documents (“Discovery

Motion No. 5”) (ECF No 688) on August 10, 2022.

        WHEREAS, the parties believe the interest of justice would best and most efficiently be

served by the entry of an order establishing briefing schedules for the motions.

        Accordingly, the parties hereby STIPULATE to and respectfully request entry of the

following schedules:




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       1.      Defendants’ response to Discovery Motion No. 3 shall be due on August 18,

2022, and Plaintiffs’ reply in further support of Discovery Motion No. 3 shall be due on August

25, 2022.

       2.      Defendants’ response to Discovery Motion No. 4 shall be due on August 22,

2022, and Plaintiffs’ reply in further support of Discovery Motion No. 4 shall be due on

September 1, 2022.

       3.      Defendants’ response to Discovery Motion No. 5 shall be due on August 24,

2022, and Plaintiffs’ reply in further support of Discovery Motion No. 5 shall be due on August

31, 2022.


ORDERED


Dated: ____________________, 2022                   ____________________________________
                                                    Honorable Virginia M. Kendall
                                                    United States District Court Judge




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 Dated: August 19, 2022                          Respectfully submitted,

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